Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 1 of 18 Pageid#: 2212




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division
  LORI FITZGERALD, et al.,

          Plaintiffs,

  v.                                                   Civil Action No. 3:20-cv-00044-NKM-JCH

  JOSEPH WILDCAT SR., et al.,

          Defendants.

                     DEFENDANT WILLIAM CHENEY PRUETT AND
                        SKYTRAIL SERVICING GROUP, LLC’S
                   MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

          Defendants William Cheney Pruett and Skytrail Servicing Group, LLC submit this

  Memorandum in Support of their Motion to Dismiss under Fed. R. Civ. P. 12(b)(6) and

  12(b)(2).1

  I.      INTRODUCTION

          This case involves a purported class action brought by five plaintiffs (“Plaintiffs”)

  challenging certain loans made by entities that are arms of the Lac du Flambeau Band of Lake

  Superior Chippewa Indians, a federally recognized Indian Tribe (the “Tribe”). In an effort to avoid

  well-established sovereign immunity defenses that would be fatal to Plaintiffs’ claims, Plaintiffs

  did not sue the Tribe or the Tribe’s lending entities. Instead, Plaintiffs originally sued three

  individuals associated with the Tribe in their personal capacities and subsequently amended the

  complaint to add additional non-Tribe defendants, including William Cheney Pruett (“Pruett”) and

  Skytrail Servicing Group, LLC (“Skytrail Servicing”).




  1
    Skytrail Servicing Group, LLC has separately filed a Motion to Compel Arbitration. Skytrail
  joins in this Motion in the alternative to the separately filed Motion to Compel Arbitration.

                                                  1
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 2 of 18 Pageid#: 2213




          Pruett and Skytrail Servicing are only tangentially connected to the harm the Plaintiffs

  allege. Neither Pruett nor Skytrail Servicing made a loan to any of the Plaintiffs, nor did any of the

  Plaintiffs make payments to Pruett or Skytrail Servicing. Indeed, the only Plaintiff to assert a claim

  against Pruett and Skytrail Servicing, Angela Maville (“Plaintiff” or “Maville”),2 alleges that she

  obtained a loan from Ningodwaaswi, LLC d/b/a Sky Trail Cash (“Sky Trail Cash”), a tribal entity

  not named as a defendant. She repaid a portion of her loan to Sky Trail Cash. She does not allege

  she made any payments to either Pruett or Skytrail Servicing or that she had any direct relationship

  with either Pruett or Skytrail Servicing.

          Despite Pruett and Skytrail’s tangential connection with Maville, she asserts a claim against

  each for violating the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1962(c)

  & (d), and under common law unjust enrichment. Her claims fail as a matter of law.

          With respect to Plaintiff’s RICO claims, each is inadequate because it fails to allege any

  specific predicate conduct that either Pruett or Skytrail Servicing undertook that gives rise to

  liability. The claims also fail because Plaintiff’s allegations, even taken as true, are inadequate for

  the Court to find the existence of a RICO enterprise distinct from the defendants.

          Plaintiff’s unjust enrichment claims against Pruett and Skytrail Servicing must also be

  dismissed for failure to allege that she conferred any benefit upon Pruett or Skytrail Servicing

  directly.

           Plaintiff’s claims against Pruett and Skytrail Servicing can also be dismissed based on her

  failure to join the Tribe, which is a necessary party. Plaintiff entered into the challenged loan

  contract with Sky Trail Cash, an arm of the Tribe, received the requested loan from Sky Trail Cash,



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   This Memorandum also refers to “Plaintiffs” collectively when addressing the claims asserted
  against all the named defendants.

                                                    2
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 3 of 18 Pageid#: 2214




  and made her loan payments to Sky Trail Cash. As Plaintiff’s pleadings acknowledge, Skytrail

  Servicing was a mere vendor of Sky Trail Cash. Pruett, as the owner of Skytrail Servicing, is even

  more remote to the loan.

          Further, Pursuant to Fed. R. Civ. P. 10(c), Pruett and Skytrail Servicing incorporate by

  reference the arguments and legal authorities raised in Defendants Joseph Wildcat, Sr., Jessie

  Lorenzo and Nicole Reynold’s Brief in Support of Motion to Compel Individual Arbitration of

  Plaintiffs Williams, Singleton, and Maville’s Claims and Stay Plaintiffs’ Claims Pending

  Arbitration (Dkt. No. 111), including with respect to the argument that the Tribe is the real party

  in interest and is entitled to sovereign immunity. (Id. at p. 18-26.)

          Finally, to the extent the Court grants Pruett and Skytrail Servicing’s Motion to Dismiss

  Plaintiff’s RICO claims, the Court should also dismiss the unjust enrichment claim under Rule

  12(b)(2) because Pruett and Skytrail Servicing do not have minimum contacts with Virginia.

  II.     PLAINTIFF’S ALLEGATIONS

          Plaintiff Maville is a resident of Florida who obtained a single loan from non-party Sky

  Trail Cash. Amended Complaint, Dkt. No. 99 ¶ 181. The loan agreement informed Plaintiff that

  Sky Trail Cash is an “economic development arm of, instrumentality of, and a limited liability

  company wholly-owned and controlled by, the Lac du Flambeau Band of Lake Superior Chippewa

  Indians.” See Declaration of Geoffrey H. Kozen (“Kozen Decl.”), Exh. A, attached as Exhibit 1. It

  further informed Plaintiff that the “Tribe is a federally-recognized Indian tribe.” Id. In signing the

  loan contract, Plaintiff agreed that the contract and disputes related to it would be governed by

  Tribal law. Id.

          Despite knowingly agreeing that the loan would be governed by Tribal law, Plaintiff

  nevertheless alleges that her loan is void and usurious under Florida law. Further, despite the crux

  of her argument being that the loan is illegal under Florida law, Plaintiff has not sued her lender–

                                                    3
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 4 of 18 Pageid#: 2215




  –Sky Trail Cash––or the Tribe that created and owns Sky Trail Cash––the Lac du Flambeau Band

  of Lake Superior Chippewa Indians. Instead, she sued only Skytrail Servicing, a third-party service

  provider that provides Sky Trail Cash marketing, lead generation, technology platforms, payment

  processing, servicing, and collection services, and Skytrail Servicing’s owner, Pruett. (Am. Compl.

  ¶ 103.)

  III.      LEGAL STANDARD

            To survive a motion to dismiss, a complaint must contain “sufficient factual matter,

  accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). But while the

  Court must accept factual allegations as true at this stage, it need not accept as true “a legal

  conclusion couched as a factual allegation,” Papasan v. Allain, 478 U.S. 265, 286 (1986);

  conclusory allegations devoid of any reference to actual events, United Black Firefighters of

  Norfolk v. Hirst, 604 F.2d 844, 847 (4th Cir. 1979); or “allegations that are merely conclusory,

  unwarranted deductions of fact or unreasonable inferences.” Veney v. Wyche, 293 F.3d 726, 730

  (4th Cir. 2002); see also Doe v. Va. Polytechnic Inst. & State Univ., No. 7:21-cv-00378, 2022 U.S.

  Dist. LEXIS 134267, at *8 (W.D. Va. July 28, 2022). In addition, a heightened pleading standard

  applies where the plaintiff’s claim sounds in fraud. Spaulding v. Wells Fargo Bank, N.A., 714 F.3d

  769, 781 (4th Cir. 2013).

            The Court may consider “documents attached to the complaint,” see Fed. R. Civ. P. 10(c),

  as well as those that are not attached, but “integral to the complaint.” Philips v. Pitt Cnty. Mem’l

  Hosp., 572 F.3d 176, 180 (4th Cir. 2009). “If a conflict exists ‘between the bare allegations of the

  complaint and any exhibit attached,’ then the ‘exhibit prevails.’” David v. Winchester Med. Ctr.,

  759 F. App’x 166, 168 (4th Cir. 2019) (quoting Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159,

  165-66 (4th Cir. 2016)).

                                                      4
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 5 of 18 Pageid#: 2216




  IV.      ARGUMENT

           A.     All claims against Pruett and Skytrail Servicing must be dismissed under
                  Rule 19 because the Tribe and Sky Trail Cash are indispensable parties that
                  cannot be joined.

           In the interest of preserving judicial economy, and as permitted by Fed. R. Civ. P. 10(c),

  Pruett and Skytrail Servicing adopt and incorporate by reference as if set forth in full herein

  Tribal Defendants’ Memorandum of Law in Support of their Motion to Compel Arbitration.

  (Dkt. No. 111, at 18-26.)


           B.     Plaintiffs’ RICO claims are inadequately pleaded as to Pruett and Skytrail
                  Servicing.

                  1. Maville impermissibly fails to specify which complained-of conduct was
                     undertaken by Skytrail Servicing or Pruett.

           Maville’s § 1962(c) RICO claim lumps all Defendants together without articulating what

  specific misconduct each is alleged to have engaged in. As set forth more fully in the Tribal

  Defendants’ Brief in Support of their Motion to Dismiss (Dkt. No. 113), that alone is sufficient

  grounds to dismiss the claim. See Hill v. Stryker Sales Corp., No. 4:13-cv-0786-BHH, 2014 WL

  4198906, at *2 (D.S.C. Aug. 20, 2014); McCrea v. Wells Fargo, No. CV RDB-18-2490, 2019 WL

  2513770, at *7 (D. Md. June 17, 2019), motion for relief from judgment denied, No. CV RDB-18-

  2409, 2019 WL 4962022 (D. Md. Oct. 8, 2019); Hirsch v. Ensurety Ventures, LLC, No. 3:17-cv-

  1215-J-39JBT, 2019 WL 8370863 (M.D. Fla. Aug. 6, 2019), aff’d, 805 F. App’x 987 (11th Cir.

  2020).

           While the Amended Complaint includes 208 paragraphs, a close review reveals that the

  factual allegations specific to Pruett and Skytrail Servicing are sparse. Instead, Plaintiffs lean on




                                                    5
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 6 of 18 Pageid#: 2217




  general allegations as to how the “Defendants” operated and what “Defendants” knew.3 For

  example, Maville alleges that:

         Defendants, together with others not yet known to Plaintiffs, marketed, initiated, and
          collected usurious loans throughout the country, including in Virginia, Georgia, Maryland,
          Florida, as well as other states with similar law.” (Am. Compl. ¶ 141.)

         “Defendants knew the loans were illegal . . . .” (Id. at ¶ 142.)

         “They” allegedly “charged astronomical interest rates that far exceeded the rates allowed
          by applicable state laws.” (Id. at ¶ 143.)

          None of these are specific to either Pruett or Skytrail Servicing. Indeed, it is clear that

  Pruett did not market, initiate, or collect loans throughout the country, and Pruett certainly did not

  individually charge any interest rate. He also did not collect or receive the principal, interest, or

  charges from any loan, including any amount paid by Maville or any other named Plaintiff.

  Because the facts on which Plaintiffs base their RICO claims unquestionably do not apply to Pruett,

  and because Plaintiffs fail to plead any other specific conduct by Pruett on which those claims

  could rest, dismissal is appropriate. See Jackson v. Warning, No. CVV PJM 15-1233, 2016 WL

  7228866, at *4 (D. Md. Dec. 13, 2016) (quoting Iqbal, 556 U.S. at 663).

          Similarly, Plaintiffs allege that Sky Trail Cash made the loan and received the principal,

  interest, and charges from the loan—not Skytrail Servicing. Am. Compl. ¶¶ 181-82. Skytrail

  Servicing is not alleged to have either charged an interest rate or received payments from any loan,

  including any amount paid by Maville or any other named Plaintiff. Although Skytrail Servicing

  may have provided administrative services to Sky Trail Cash related to Sky Trail Cash’s loan

  business, the allegations of wrongdoing that substantiate the RICO claim are not alleged to apply




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    Pruett incorporates the Tribal Defendants’ bullet point summary of the Amended Complaint’s
  allegations. (See Dkt. No. 113, at p. 6.)

                                                    6
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 7 of 18 Pageid#: 2218




  to Skytrail Servicing. As Plaintiffs have offered no allegations specific to Skytrail Servicing, the

  RICO claims against it must also be dismissed.

                 2. Maville fails to sufficiently allege the existence of a RICO enterprise.

          Maville’s RICO claims against Pruett and Skytrail Servicing also fail for the independent

  reason that Maville has not adequately alleged the existence of a RICO enterprise, a required

  element of the claim. Myers v. Lee, No. 1:10-cv-131 (AJT) (JFA), 2010 WL 3745632, at *3 (E.D.

  Va. Sept. 21, 2010). To plead a claim under RICO, a plaintiff must allege the existence of an

  enterprise (known as the “RICO enterprise”) that is corrupted by the wrongful conduct of

  defendants (known as “RICO persons.”). A “RICO person must be distinct from the RICO

  enterprise.” Myers, 2010 WL 3745632, at *3. “[R]ote allegations that Defendants ‘operated’ and

  ‘conducted the business of the enterprise’ . . . unsupported by any specific fact[,]” and “mere

  conclusory language that Defendants and supposed enterprise participants operated as a RICO

  enterprise” fails to satisfy Rule 12(b)(6) pleading standards. Nunes v. Fusion GPS, 531 F. Supp.

  3d 993, 1007 (E.D. Va. 2021)

          Here, Maville alleges that all the named Defendants formed an “association in fact”

  enterprise, which the Supreme Court has recognized as “a group of persons associated together for

  a common purpose of engaging in a course of conduct.” Boyle v. United States, 556 U.S. 938, 946

  (2009). An association-in-fact enterprise “must have at least three structural features: a purpose,

  relationships among those associated with the enterprise, and longevity sufficient to permit these

  associates to pursue the enterprise’s purpose.” Id.

          But Maville fails to allege those fundamental elements to show an enterprise existed.

  Instead, she alleges only that “[a]s detailed above, Defendants created an array of different

  companies for the purpose of making usurious loans” (Am. Compl. ¶ 118 (emphasis added).) But



                                                   7
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 8 of 18 Pageid#: 2219




  contrary to the emphasized text, there are no other details in the Complaint, above or below the

  quoted text, about the manner in which the Tribe in this case organized its lending operation. In

  fact, Plaintiffs do not allege any of the three core structural features identified by the Supreme

  Court. With regard to the relevant relationships, Plaintiffs offer a lengthy exposition about other

  tribal lending “schemes” that did not involve Pruett, Skytrail Servicing, the Tribe, or any other

  Defendant named in this case. (See, e.g., Am. Compl. ¶¶ 61-97.) Plaintiff cannot simply rely on

  allegations about the structure of other tribal lending businesses and ask the Court to assume that

  the Tribe utilized the same business structure. Plaintiff similarly relies on recitations of why other

  tribes, rather than the Tribe here, engage in lending activities in their attempt to allege a common

  purpose between the Tribe and Defendants here.

          Because Plaintiffs do not offer factual allegations related to the structure of the RICO

  enterprise they claim exists in this case, and because they utilize impermissible group pleading, as

  detailed above, they necessarily fail to allege what roles each individual played in the claimed

  enterprise. That, too, renders their pleadings inadequate as a matter of law. See Manago v. Cane

  Bay Partners VI, LLLP, No. 20-CV-0945-LKG, 2022 WL 4017299, at *6 (D. Md. Sept. 2, 2022)

  (“[T]here are no facts in the amended complaint to show . . . what ‘roles and responsibilities’ the

  Cane Bay Defendants had in maintaining the alleged RICO enterprise.”); Adolphe v. Option One

  Mortg. Corp., No. 3:11-cv-418, 2012 WL 5873308, at *5 (W.D.N.C. Nov. 20, 2012) (“Plaintiff

  failed to aver any factual allegations that demonstrate the individual roles played by each

  Defendant, much less how those roles combined to form a continuing unit, or ‘enterprise’”).

          To the extent Plaintiffs’ pleading nods toward the existence of a RICO enterprise, they fail

  to allege that it is distinct from the Defendants themselves. “The distinctiveness requirement may

  not be avoided by alleging a RICO enterprise that consists merely of a corporation defendant



                                                    8
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 9 of 18 Pageid#: 2220




  associated with its own employees or agents carrying on the regular affairs of the defendants.”

  Khurana v. Innovative Health Care Sys., 130 F.3d 143, 155 (5th Cir. 1997), vacated on other

  grounds, Teel v. Khurana, 525 U.S. 979 (1998); see also Ray v. Spirit Airlines, Inc., 836 F.3d

  1340, 1357 (11th Cir. 2016) (no distinctiveness where the enterprise is comprised of “a corporate

  defendant and its agents or employees acting within the scope of their roles for the corporation”)

  (emphasis added). Thus, “liability depends on showing that the defendants conducted or

  participated in the conduct of the ‘enterprise’s affairs,’ not just their own affairs.” Id. (citing Reves

  v. Ernst & Young, 507 U.S. 170, 185 (1993)).

          Maville has failed to allege facts sufficient to make that showing. Id. As set forth in the

  Tribal Defendants’ Motion to Dismiss, (Dkt. No. 113) Plaintiffs allege that the Tribal Council has

  the power to manage lending activities for the Tribe, and that the purportedly illegal enterprise was

  merely the delegated agents of the Tribe managing those lending activities. (Am. Compl. ¶¶ 123-

  29.) Plaintiffs also allege that the Tribal Defendants delegated agents or entities to manage those

  lending businesses, including the marketing, underwriting, origination, financing, and collection

  of the loans. (Am. Compl. ¶ 102.) In other words, there is a “complete overlap between the

  defendants, their alleged agents, and the enterprise.” Myers, 2010 WL 3745632, at *4. And each

  of the alleged RICO persons—the Band, its Tribal Council, its subsidiaries, and non-tribal agents

  Pruett and Skytrail Servicing—has done anything other than conduct their normal business

  functions. Ultimately, the relevant allegations are nothing more than a claim “that the defendants

  associated with themselves for the purpose of conducting [their] business affairs through entities

  created for that purpose.” Those allegations are insufficient to satisfy the distinctiveness

  requirement and, therefore, fatal to their RICO claims. Id. at *5. The Amended Complaint fails to




                                                     9
  137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 10 of 18 Pageid#: 2221




   sufficiently allege any distinction between the RICO persons and the RICO enterprise, and so must

   be dismissed.

                   3. Maville does not plausibly allege that Pruett or Skytrail Servicing
                      conducted or controlled the affairs of any enterprise.

           The Supreme Court has held that “[m]ere participation in the activity of [an] enterprise is

   insufficient” to impose liability under Section 1962. Reves v. Ernst & Young, 507 U.S. 170, 179

   (1993). Similarly, liability will not attach based on a defendant’s “mere participation in a

   racketeering act.” D’Addario v. D’Addario, 901 F.3d 80, 103 (2d Cir. 2018). And “[a] defendant

   does not ‘direct’ an enterprise's affairs under § 1962(c) merely by engaging in wrongful conduct

   that assists the enterprise.” Redtail Leasing, Inc. v. Bellezza, No. 95-5191, 1997 WL 603496, at *5

   (S.D.N.Y. Sept. 30, 1997)). For example, performing “consulting services,” and providing

   “important and indispensable . . . services,” does not result in RICO liability. University of

   Maryland at Baltimore v. Peat, Marwick, Main & Co., 996 F.2d 1534, 1539 (3d Cir.1993).

   Evidence showing that a defendant provided advice to the enterprise, performed services, and

   specifically failed to stop illegal activity is also insufficient to impose liability. Walter v. Drayson,

   538 F.3d 1244, 1248-49 (9th Cir. 2008). Even a defendant’s “substantial persuasive power to

   induce the alleged enterprise to take certain actions” is insufficient. Morin v. Trupin, 835 F. Supp.

   126, 135–36 (S.D.N.Y. 1993). As is perhaps most relevant here, “simply performing services for

   an enterprise, even with knowledge of the enterprise’s illicit nature, is not enough to subject an

   individual to RICO liability under § 1962(c); instead, the individual must have participated in the

   operation and management of the enterprise itself.” Goren v. New Vision Int’l, 156 F.3d 721, 728

   (7th Cir. 1998).

           The Amended Complaint does not include any allegations that either Pruett or Skytrail

   Servicing took any action to operate or manage any enterprise. Indeed, the Amended Complaint


                                                      10
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 11 of 18 Pageid#: 2222




   alleges only that Pruett and Skytrail Servicing provided services as an agent for Sky Trail Cash,

   and that each profited indirectly from the enterprise. Neither constitutes the type of control

   necessary to impose civil liability under Section 1962(c). The Section 1962(c) claims must

   therefore be dismissed.

                  4. Maville’s RICO conspiracy claim is barred under the intra-corporate
                     conspiracy doctrine and because Plaintiff fails to plausibly allege Pruett
                     or Skytrail Servicing acted knowingly.

           RICO’s conspiracy provision, 18 U.S.C. § 1962(d), makes it unlawful to conspire with

   others to violate any substantive provision of the RICO statute. To adequately allege a conspiracy

   under § 1962(d) the plaintiff must allege facts showing “(1) that two or more people agreed to

   commit a substantive RICO offense and (2) that the defendant knew of and agreed to the overall

   objective of the RICO offense.” Solomon v. Am. Web Loan, No. 4:17-cv-145, 2019 WL 1320790,

   at *11 (E.D. Va. Mar. 22, 2019) (citing United States v. Posada-Rios, 158 F.3d 832, 857 (5th Cir.

   1998); see also Hecht v. Commerce Clearing House, Inc., 897 F.2d 21, 25 (2d Cir. 1990) (“Because

   the core of a RICO civil conspiracy is an agreement to commit predicate acts, a RICO civil

   conspiracy complaint must, at the very least, allege specifically such an agreement.”); Walters v.

   McMahen, 795 F. Supp. 2d 350, 355 (D. Md. 2011); Proctor v. Metro. Money Store Corp., et al.,

   645 F. Supp. 2d 464, 477 (D. Md. 2009) (quoting United States v. Pryba, 900 F.2d 748, 760 (4th

   Cir. 1990)).

           The first element requires that the agreement must be between “two or more people.”

   Solomon, 2019 WL 1320790, at *11. However, longstanding RICO jurisprudence holds that a

   business entity “cannot conspire with its employees — and employees, when acting within the

   scope of their employment, cannot conspire amongst themselves.” Walters, 795 F. Supp. 2d at

   358. In other words, if the alleged RICO agreement is intra-corporate, the agreement requirement



                                                  11
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 12 of 18 Pageid#: 2223




   cannot be met because the corporation is considered a single entity. The doctrine applies here

   because Plaintiffs allege that the Tribe conspired only with its own lending arm and vendor agents

   acting on behalf of that lending entity. There are no allegations that Pruett or Skytrail Servicing

   acted outside the scope of that agency relationship––which requires dismissal of the conspiracy

   claim.

            Second, “Liability [under § 1962(d)] only attaches to ‘the knowing agreement to participate

   in an endeavor which, if completed, would constitute a violation of the substantive statute.’”

   United States v. Mouzone, 687 F.3d 207, 218 (4th Cir. 2012). Plaintiff’s allegations are devoid of

   facts as to Pruett or Skytail Servicing’s knowledge. Instead of pointing to a specific agreement

   between Defendants, Plaintiffs instead only offer the conclusory allegation that the harm they

   allege was “facilitate[ed] [by] a series of agreements” between Defendants. (Am. Compl. ¶ 223.)

   As set forth by the Tribal Defendants’ Motion to Dismiss, that is not enough. (Dkt. No. 113, at

   12.) “Plaintiffs do not explain how, when, or where an agreement was reached (or even that an

   agreement was reached), nor do Plaintiffs explain what it means to facilitate an agreement

   ‘designed to’ violate other sections of the RICO statute.” Id.

            C.     Maville’s unjust enrichment claim fails because she conferred no direct
                   benefit on either Pruett or Skytrail Servicing.

            To state a claim for unjust enrichment under Florida law, a plaintiff must plead facts

   sufficient to show “a benefit conferred upon a defendant by the plaintiff, the defendant’s

   appreciation of the benefit, and the defendant’s acceptance and retention of the benefit under

   circumstances that make it inequitable for him to retain it without paying the value thereof.” Fla.

   Power Corp. v. City of Winter Park, 887 So. 2d 1237, 1241 n.4 (Fla. 2004) (citing Ruck Bros.

   Brick, Inc. v. Kellogg & Kimsey, Inc., 668 So. 2d 205, 207 (Fla. 2d DCA 1995)). In addition, Florida

   requires that, in order to recover, the plaintiff must have conferred the benefit on the defendant


                                                    12
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 13 of 18 Pageid#: 2224




   directly. Pain Clinic of Northwest Fl. v. Allscripts Healthcare Solutions, No. 12-4937I-CA-40,

   2014 Fla. Cir. LEXIS 52409, at *2 (Fla. Cir. Ct. July 28, 2014); CFLB P'ship, LLC v. Diamond

   Blue Int’l, Inc., 47 Fla. L. Weekly 1812 (Dist. Ct. App. 2022); see also, Johnson v. Catamaran

   Health Sols., LLC, 687 F. App'x 825, 830 (11th Cir. 2017) (dismissing unjust enrichment claim

   under Florida law because membership fees paid to one entity did not constitute a direct benefit to

   another entity even though they accrued to the second entity’s benefit).

           Maville’s unjust enrichment claim fails to allege that she directly conferred any benefits on

   either Pruett or Skytrail Servicing. Maville alleges that she took out a loan from Sky Trail Cash,

   and paid interest and fees to Sky Trail Cash. Am. Compl. ¶¶ 181-82; see also Kozen Decl., Exh.

   A. She does not allege that she ever transacted directly with either Skytrail Servicing or Pruett.

           Those allegations are akin to the circumstances in Extraordinary Title Servs., LLC v. Fla.

   Power & Light Co., 1 So. 3d 400, 404 (Fla. Dist. Ct. App. 2009). In that case, the plaintiff

   transacted with the Florida Power and Light Co. However, it also brought an unjust enrichment

   claim against Florida Power and Light Group, the parent company of Florida Power and Light Co.

   The court dismissed that claim on the grounds that the plaintiff had contracted with Florida Power

   and Light and paid Florida Power and Light. It had “absolutely no relationship with [Florida Power

   and Light] Group” and had “not conferred a direct benefit upon Group.” Id. Absent a direct

   relationship, Florida’s “direct benefit” requirement could not be met. Id. So too here. Maville does

   not allege any direct relationship with Pruett or Skytrail Servicing—merely that they provided

   services to Sky Trail Cash and profited indirectly from the loan she received from Sky Trail Cash.

   In fact, the Amended Complaint and Maville’s loan agreement make clear that the deficiency is

   not merely a failure of pleading. Rather, no direct relationship existed.

           Alternatively, if Plaintiff’s RICO claims are dismissed their state law unjust enrichment



                                                    13
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 14 of 18 Pageid#: 2225




   claim should also be dismissed for lack of pendent jurisdiction. See, e.g., Alexandria Resident

   Council, Inc. v. Alexandria Redevelopment & Hous. Auth., 11 F. App’x, 283, 287 (4th Cir. 2001).

             D.     If the Court dismisses Plaintiffs’ RICO claims, Plaintiffs’ state law claims
                    against Pruett and Skytrail Servicing should also be dismissed for want of
                    personal jurisdiction over Pruett and Skytrail Servicing.

             If this Court dismisses the RICO claims against Pruett and Skytrail Servicing, the unjust

   enrichment claim should also be dismissed pursuant to Fed. R. Civ. P. 12(b)(2) as neither Pruett

   nor Skytrail Servicing are subject to this Court’s personal jurisdiction for the purposes of that

   claim.4

             “Under Rule 12(b)(2), a defendant must affirmatively raise a personal jurisdiction

   challenge, but the plaintiff bears the burden of demonstrating personal jurisdiction at every stage

   following such a challenge.” Grayson v. Anderson, 816 F.3d 262, 267 (4th Cir. 2016) (citation

   omitted). The Due Process Clause of the Fourteenth Amendment requires a defendant to “have

   certain minimum contacts with [the forum] such that the maintenance of a suit does not offend

   ‘traditional notions of fair play and substantial justice.’” Int’l Shoe Co. v. Washington, 326 U.S.

   310, 316, 66 S. Ct. 154, 90 L. Ed. 95 (1945).5 Those minimum contacts vary based on the type of

   personal jurisdiction that plaintiffs seek to impose over a defendant: general or specific.



   4
     Pruett and Skytrail Servicing do not concede that they have sufficient minimum contacts with
   Virginia with respect to any of the pending claims. However, anticipating that Plaintiffs will rely
   on the nationwide service of process rules for a RICO claim, Pruett and Skytrail do not challenge
   personal jurisdiction with respect to the pending RICO claims. This argument is asserted in the
   alternative and, to the extent, the RICO claims are dismissed.
   5
     Determining whether a court may exercise personal jurisdiction generally requires a court to
   determine if jurisdiction comports with the state’s long-arm statute, and only if it answers in the
   affirmative does the court undertake the constitutional analysis. See Omni Capital Int’l, Ltd. v.
   Rudolf Wolff & Co., Ltd., 484 U.S. 97, 105 (1987). However, Virginia’s long-arm statute extends
   personal jurisdiction to the maximum extent permitted by the Fourteenth Amendment Due Process
   Clause. As such “the statutory inquiry necessarily merges with the constitutional inquiry, and the
   two inquiries become one.” Stover v. O'Connell Assocs., 84 F.3d 132, 135-36 (4th Cir. 1996).

                                                    14
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 15 of 18 Pageid#: 2226




   Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414-15 (1984). General personal

   jurisdiction exists when a defendant has “continuous and systematic contacts with the forum state,

   such that a defendant may be sued in that state for any reason, regardless of where the relevant

   conduct occurred.” CFA Inst. v. Inst. of Chartered Fin. Analysts of India, 551 F.3d 285, 292 n.15

   (4th Cir. 2009). Specific personal jurisdiction exists if a defendant’s minimum contacts with the

   forum state form the basis for the claims in question. Mitrano v. Hawes, 377 F.3d 402, 406 (4th

   Cir. 2004).

           Here, Plaintiffs have alleged no facts to support either general or specific personal

   jurisdiction over either Pruett or Skytrail Servicing. The Supreme Court has explained that a

   defendant must be effectively at home in a jurisdiction to be subjected to general personal

   jurisdiction. Daimler AG v. Bauman, 134 S. Ct. 746, 762 (2014); see also ESAB Group, Inc. v.

   Centricut, Inc., 126 F.3d 617, 623-24 (4th Cir. 1997) (citing 4 Charles A. Wright & Arthur R.

   Miller, Federal Practice and Procedure § 1067, at 295-98 (1987)); Sportrust Assocs., Int’l, Inc. v.

   The Sports Corp., 304 F. Supp. 2d 789, 792 (E.D. Va. 2004) (“courts typically exercise general

   jurisdiction only over nonresidents who are essentially domiciled within the forum state.”).

   Maville does not allege any facts supporting a claim that Pruett or Skytrail Servicing are effectively

   domiciled in Virginia, nor could they. Pruett is a resident of Texas and Skytrail Servicing is a

   limited liability formed under the laws of Texas. Neither is alleged to be a resident of Virginia,

   neither is alleged to conduct business in Virginia, Skytrail is not alleged to have an office in

   Virginia, and Skytrail is not alleged to have any employees in Virginia. There is therefore no

   general jurisdiction over Pruett or Skytrial Servicing.

           Specific jurisdiction is far more limited. A Court may exercise specific jurisdiction over a

   defendant only if: (1) the defendant purposefully availed itself of the privileges of conducting



                                                    15
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 16 of 18 Pageid#: 2227




   activities in the forum, thereby invoking the benefits and protections of its laws, or purposely

   directed conduct at the forum that has effects in the forum; (2) the claim arises out of the

   defendant’s forum-related activities; and (3) the exercise of jurisdiction comports with fair play

   and substantial justice. See Mitrano v. Hawes, 377 F.3d 402, 406-07 (4th Cir. 2004); see also

   Burger King, Corp. v. Rudzewicz, 471 U.S. 462, 472-76 (U.S. 1985).

           Plaintiffs have not alleged facts that meet any of those required prongs. There are simply

   no facts alleged in the Amended Complaint connecting either Pruett, Skytrail Servicing, or the loan

   in question to Virginia in any way. Rather, Maville alleges only that:

                    Pruett is resident of Texas. (Am. Compl. ¶ 30.)

                    Skytrail Servicing is a limited liability formed under the laws of Texas. (Id. at ¶ 31.)

                    “Upon information and belief, the money loaned to borrowers (including Plaintiff

                     Maville) was transferred from a bank account owned and operated or controlled by

                     Defendants Skytrail Servicing Group and Pruett . . . .” (Id. at ¶ 109).

                    “Upon information and belief, Defendants Pruett and Skytrail Servicing Group

                     provided millions of dollars in capital to fund loans, and entered into an agreement

                     with the Tribe . . . .” (Id. at ¶ 110).

                    “Defendants, together with others not yet known to Plaintiffs, marketed, initiated,

                     and collected usurious loans throughout the country, including in Virginia, Georgia,

                     Maryland, Florida, as well as other states with similar laws.” (Id. at ¶ 141.)

           None of these allegations point to any activity or contact that Pruett or Skytrail Servicing,

   rather than other Defendants, had with Virginia in relation to the Maville loan, or indeed any other

   loans. And, once again, Maville could not do so, because Pruett and Skytrail have not marketed

   any loan anywhere, nor have they ever done any business in Virginia. There is simply no nexus,



                                                          16
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 17 of 18 Pageid#: 2228




   alleged or otherwise, between Pruett and Skytrail Servicing, on the one hand, and Virginia, on the

   other. Plaintiff’s unjust enrichment claim should therefore be dismissed for lack of personal

   jurisdiction.

   IV.     CONCLUSION

           For the reasons set forth above, Defendants William Cheney Pruett and Skytrail Servicing

   Group LLC ask that Plaintiffs’ Amended Complaint be dismissed for failure to state a claim as to

   them and for lack of personal jurisdiction, to the extent the RICO claims are dismissed.

                                        WILLIAM CHENEY PRUETT and
                                        SKYTRAIL SERVICING GROUP, LLC


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                                                  17
   137022980v3
Case 3:20-cv-00044-NKM-JCH Document 124 Filed 12/19/22 Page 18 of 18 Pageid#: 2229




                                      CERTIFICATE OF SERVICE

           I hereby certify that on this 19th day of December 2022, I caused the foregoing document

   to be filed with the Clerk of Court using the CM/ECF system, which will send notice of electronic

   filing to all counsel of record.



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                                                  18
   137022980v3
